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      In The United States Court of Federal Claims
                                               No. 09-460L

                                       (Filed: June 14, 2013)
                                            __________


 DOUGLAS R. BIGELOW TRUST,
 JAMIE MORTENSON, et al.,
 On behalf of themselves and all other
 similarly situated persons,

                                 Plaintiffs,

                          v.

 THE UNITED STATES,

                                 Defendant.

                                                _________

                                                 ORDER
                                                _________

        On June 12, 2013, the parties filed a joint status report regarding the status of their
comprehensive settlement proposal. On or before July 10, 2013, and every 28 days thereafter,
the parties shall file a joint status report regarding the status of their settlement in this case.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
